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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

   UNITED STATES, et al.,

                         Plaintiffs,

         vs.                                                 No: 1:23-cv-00108-LMB-JFA

   GOOGLE LLC,

                           Defendant.


   DEFENDANT GOOGLE LLC’S RESPONSE TO PLAINTIFFS’ MOTION TO SEAL

        Pursuant to Local Civil Rule 5(C), Defendant Google LLC (“Google”) submits this

 response to Plaintiffs’ Motion to Seal Plaintiffs’ Motion to Compel Google’s Internal Analyses of

 Remedy Feasibility and accompanying exhibits (Dkt. 1442). Plaintiffs preliminarily filed certain

 information under seal that Google had marked Confidential or Highly Confidential. Upon review

 of Plaintiffs’ sealed and unredacted filings, Google requests maintaining a limited set of

 information under seal.

                                        LEGAL STANDARD

         “When presented with a request to seal judicial records or documents, a district court must

 comply with certain substantive and procedural requirements.”1 Va. Dep’t of State Police v. Wash.

 Post, 386 F.3d 567, 576 (4th Cir. 2004). Substantively, the Court “must determine the source of

 the right of access with respect to each document.” Stone v. Univ. of Md. Med. Sys. Corp., 855

 F.2d 178, 180-81 (4th Cir. 1988).




 1 With respect to quoted material, unless otherwise indicated, all brackets, ellipses, footnote call

 numbers, internal quotations, and citations have been omitted for readability. All emphasis is
 added unless otherwise indicated.
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        Civil discovery materials may be shielded from public disclosure under Rule 26(c) for

 “good cause.” That rule specifically identifies “confidential . . . commercial information” as

 information that may be shielded for good cause. Fed. R. Civ. P. 26(c)(1)(G). The rule also extends

 to the protection of privacy rights. Seattle Times Co. v. Rhinehart, 467 U.S. 20, 35 n.21 (1984)

 (“Although [Rule 26(c)] contains no specific reference to privacy or to other rights or interests that

 may be implicated, such matters are implicit in the broad purpose and language of the

 Rule.”). When a discovery motion is filed, courts apply the same “good cause” standard, which

 allows courts to seal confidential discovery materials that are filed by the parties in support of, or

 in opposition to, a discovery motion upon a simple showing of “good cause.”

        Separately, under the common-law standard, a trial court may “seal documents if the

 public’s right of access is outweighed by competing interests.” In re Knight Publ’g Co., 743 F.2d

 231, 235 (4th Cir. 1984). Accordingly, public access to civil trial records “is not absolute,” and

 restrictions can be justified by concerns that such records “might . . . become a vehicle for improper

 purposes,” such as where the records serve “as sources of business information that might harm a

 litigant’s competitive standing.” Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978). In

 particular, a corporation’s “strong interest in preserving the confidentiality of its proprietary and

 trade-secret information . . . may justify partial sealing of court records.” Doe v. Pub. Citizen, 749

 F.3d 246, 269 (4th Cir. 2014).

        Procedurally, before allowing documents to be filed under seal, the Court must “(1) provide

 public notice of the request to seal and allow interested parties a reasonable opportunity to object,

 (2) consider less drastic alternatives to sealing the documents, and (3) provide specific reasons and

 factual findings supporting its decision to seal the documents and for rejecting the alternatives.”

 Ashcraft v. Conoco, Inc., 218 F.3d 288, 302 (4th Cir. 2000).



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                                          ARGUMENT

        Upon review of the Plaintiffs’ brief and accompanying exhibits, Google has determined

 that much of the information contained in the materials submitted to the Court in connection with

 the motion to compel does not warrant continued sealing. Accordingly, Google agrees that all

 exhibits can be unsealed with narrow redactions.

        Google respectfully requests that the Court keep under seal portions of documents that

 contain (i) personal information of Google employees or (ii) confidential commercial information

 of Google. While Google acknowledges that employee information has been made public during

 the course of litigation, Google requests that certain employee information remain under seal in

 order to remain consistent with the Court’s prior sealing orders. Specifically, in connection with

 prior discovery motions, the Court sealed the same (or similar) documents and information.

   I.   THE PROCEDURAL REQUIREMENTS FOR SEALING HAVE BEEN MET.

        Under the local rules, a party may file a motion to seal together with the proposed sealed

 filings. E.D. Va. Civ. R. 5(C). Before sealing a court record, a court must provide public notice,

 consider less drastic alternatives to sealing the documents, and provide specific reasons and

 findings supporting the decision to seal. Ashcraft, 218 F.3d at 302. Each of those procedural

 requirements have been met here.

        First, there has been public notice. The Court must provide notice of a request for sealing

 in the court record and provide interested persons with “an opportunity to object.” In re Knight

 Publ’g Co., 743 F.2d 231, 234 (4th Cir. 1984). Individual notice is not required, and the Court may

 give adequate notice either by “notifying the persons present in the courtroom of the request to

 seal” at the time of the hearing or by “docketing [the sealing request] reasonably in advance of

 deciding the issue.” Id. at 235. In accordance with the procedures in Local Civil Rule 5(C),



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 Plaintiffs’ sealing motion has been publicly docketed in advance of any ruling on sealing (Dkt.

 1442), accompanied by a notice that any party or non-party could object (Dkt. 1444), thereby

 satisfying the first procedural requirement.

        Second, the sealing request is limited to personal information and confidential material

 referenced in Plaintiffs’ Motion and the exhibits attached thereto. Google’s proposed redactions

 will not impede public access to Plaintiffs’ Motion, and legal arguments in support, while still

 protecting Google’s confidential and commercially sensitive business information and the privacy

 of Google’s employees. See United States ex rel. Carter v. Halliburton Co., 2011 WL 8204612,

 at *3 (E.D. Va. Nov. 29, 2011) (limited redaction approved, as opposed to “sealing the brief in

 toto”). Accordingly, Google has proposed the least drastic method to protect its commercially

 sensitive confidential information and the public’s right of access.

        Third, as detailed in Section II, Google has provided the specific reasons supporting its

 sealing request. In accordance with Local Civil Rule 5(C), Google has provided a proposed order

 containing the required findings.

  II.   GOOGLE’S CONFIDENTIAL INFORMATION SHOULD BE PROTECTED
        FROM PUBLIC DISCLOSURE.

        Google seeks to keep the following information under seal:

            ● Plaintiffs’ Brief: Google requests that the redacted text on pages 3 and 4 remain
              under seal as it references redacted material from Exhibit 1.

            ● Exhibit 1: Portions of this email chain (on pages LAZARD-DOJ-00000044 and -
              046) contain non-public analyses performed by Google and its financial advisor of
              the advertising technology competitive landscape as it relates to Google. Because
              Google would suffer competitive harm if this information were made public,
              Google requests that this information remain under seal. Google has filed a
              redacted version of this document that seals only this commercially sensitive
              information, as well as Google employees’ personal information. The Court
              previously ordered this same information to remain under seal. See Dkt. 284 at 10;
              Dkt. 284-22; Dkt. 285. The redacted version of this exhibit filed with Plaintiffs’
              motion should remain under seal. Dkt. 1439-1.


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            ● Exhibit 2: This is an excerpt from the deposition transcript of a Google employee,
              who was deposed pursuant to DOJ’s CIDs issued under the Antitrust Civil Process
              Act (“ACPA”), 15 U.S.C. § 1311 et seq. Google has filed a redacted version of this
              document that seals certain Google employees’ personal information, consistent
              with the Court’s prior sealing treatment of this exhibit. See Dkt. 284-27; Dkt. 285.

            ● Exhibit 3: This is an excerpt from the deposition transcript of Google’s 30(b)(6)
              corporate representative, who was deposed pursuant to DOJ’s CIDs issued under
              the ACPA. The redacted version of this exhibit filed with Plaintiffs’ motion should
              remain under seal, Dkt. 1439-3 as it is consistent with the Court’s prior sealing
              treatment of this exhibit. See Dkt. 284-31; Dkt. 285. The redactions are to protect
              Google employees’ personal information and protect certain sensitive non-public
              information of Google’s proprietary product features and potential future changes
              to those features.

            ● Exhibit 4: This is a privilege log. Consistent with the Court’s prior treatment of
              Google’s privilege logs, see Dkt. 284-2; Dkt. 285, Google has filed a redacted
              version to seal certain Google employees’ personal information. See, e.g., Krakauer
              v. Dish Network, LLC, 2015 WL 12750446, at *2 (M.D.N.C. Nov. 18, 2015)
              (approving redactions of email addresses and telephone numbers in court filings
              because of “legitimate privacy interests”).

            ● Exhibit 5: This is an excerpt from the deposition transcript of a Google employee,
              who was deposed pursuant to DOJ’s CIDs issued under the ACPA. Limited
              portions of the transcript contain sensitive non-public information about Google’s
              proprietary product features, potential future changes to those features, and internal
              processes and operations. Because Google would suffer competitive harm if this
              information were made public, Google requests that this information remain under
              seal. Google has filed a redacted version of this document that seals only this
              commercially sensitive information, as well as Google employees’ personal
              information.

            ● Exhibit 6: Excerpt from the deposition transcript of a Google employee, who was
              deposed pursuant to DOJ’s CIDs issued under the ACPA. Google has filed a
              redacted version of this document that seals a Google employee’s personal
              information.

        Before sealing a document filed with the Court, the Court must determine which sealing

 standard applies. There are three different standards: (i) First Amendment, (ii) common-law, and

 (iii) good cause. The first two, the First Amendment and common-law rights of access, apply only

 to “judicial records.” Non-judicial records, like the discovery documents at issue here, are

 governed by Rule 26’s “good cause” standard. See, e.g., Smithkline Beecham Corp. v. Abbott

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 Labs., 2017 WL 11552659, at *3-4 (M.D.N.C. Mar. 7, 2017). Discovery materials become

 “judicial records” before trial only if they are filed in support of, or in opposition to, a dispositive

 motion. Id. at *1.

         Civil discovery generally is “conducted in private as a matter of modern practice,” Seattle

 Times, 467 U.S. at 33, and discovery materials are not filed as a matter of course, Fed. R. Civ. P.

 5(d)(1)(A). Therefore, discovery proceedings are “not public components of a civil trial.” See

 Seattle Times, 467 U.S. at 33. The sealed exhibits and the corresponding redacted text in Plaintiffs’

 Motion either relate to or are the fruits of the compulsory CID process, which is akin to civil

 discovery, and thus are not inherently “judicial records.” Cf. 15 U.S.C. § 1312(c)(1)(B) (providing

 that “the standards applicable to discovery requests under the Federal Rules of Civil Procedure”

 apply to CIDs).

        For documents filed in connection with discovery motions, there is no common-law right

 of access. See Smithkline, 2017 WL 11552659, at *4 (concluding that “no public access right

 attaches to the documents at issue” because the documents “related to a discovery motion”);

 Leucadia, Inc. v. Applied Extrusion Techs., Inc., 998 F.2d 157, 165 (3d Cir. 1993) (“We hold there

 is a presumptive right to public access to all material filed in connection with nondiscovery pretrial

 motions, whether these motions are case dispositive or not, but no such right as to discovery

 motions and their supporting documents.”); Chi. Trib. Co. v. Bridgestone/Firestone, Inc., 263 F.3d

 1304, 1312 (11th Cir. 2001) (“Material filed with discovery motions is not subject to the common-

 law right of access”); Anderson v. Cryovac, Inc., 805 F.2d 1, 11 (1st Cir. 1986) (“There is no right

 of public access to documents considered in civil discovery motions.”).

        Therefore, the sealing standard for exhibits filed in connection with a discovery motion is

 the “good cause” standard set forth in Rule 26(c).



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        A.      Sealing for “Good Cause” is Appropriate.

        Under the “good cause” standard, the Court may enter an order “requiring that a trade secret

 or other confidential research, development, or commercial information not be revealed.” Fed. R.

 Civ. P. 26(c)(1)(G). To establish “good cause” under the Rule 26(c) standard, a party “must

 establish that the information sought is covered by the rule and that it will be harmed by

 disclosure.” In re Wilson, 149 F.3d 249, 252 (4th Cir. 1998). The information contained in the

 sealed exhibits constitutes Google’s confidential business information, the public disclosure of

 which would cause harm to Google. Google also seeks to redact only limited information in the

 exhibits implicating the privacy rights of its employees, information that is irrelevant and could be

 damaging to the employees’ privacy if publicly disclosed. Thus, Google has satisfied the “good

 cause” standard, and the Court can—and should—protect this information by sealing the redacted

 portions of the accompanying exhibits to Plaintiffs’ Motion.

        B.      Sealing Under the Common-Law Right of Access is Also Appropriate.

        The Court should still seal Google’s confidential materials even if it determines Google’s

 documents qualify as judicial records. The First Amendment right of access does not extend to

 civil, non-dispositive motions. See Wash. Post, 386 F.3d at 581. At most, then, the common-law

 right of access would apply. See Stone, 855 F.2d at 180-81.

        Under the common-law right of access, a court may “seal documents if the public’s right

 of access is outweighed by competing interests.” Knight Publ’g, 743 F.2d at 235. Protecting

 confidential business information has long been recognized as a significant private interest that

 overcomes the common-law right of access and justifies sealing of judicial records. See Warner

 Commc’ns, 435 U.S. at 598; Knight Publ’g, 743 F.2d at 235. Thus, to overcome the common-law

 right of access and maintain the sealing or redaction of documents, a litigant may show that the

 right of access is “outweighed by competing interests,” including that the materials contain

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 confidential business information, the disclosure of which would be harmful. Knight Publ’g, 743

 F.2d at 235.

        As shown above, Google seeks to seal its confidential business information, the value of

 which would be eroded or extinguished by disclosure in the public judicial record. Disclosure

 would cause competitive harm by disincentivizing innovation. Google also requests limited

 sealing to redact personal information of its employees, information that is irrelevant here and

 could be damaging to the employees’ privacy if publicly disclosed. Accordingly, Google has made

 the necessary showing to warrant keeping the exhibits and redacted information under seal under

 the common-law right of access standard.

                                         CONCLUSION

        For the reasons argued above, Google requests that the Court grant the motion to seal. A

 proposed order is submitted herewith.




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  Dated: May 30, 2025                        Respectfully submitted,


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